USCA4 Appeal: 21-1084      Doc: 9         Filed: 05/03/2021    Pg: 1 of 3




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 21-1084


        In re: TAVON DAMEON DAVIS,

                            Petitioner.



                      On Petition for Extraordinary Writ. (1:11-cr-00657-MJG-1)


        Submitted: April 27, 2021                                           Decided: May 3, 2021


        Before KEENAN, WYNN, and FLOYD, Circuit Judges.


        Petition denied by unpublished per curiam opinion.


        Tavon Dameon Davis, Petitioner Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 21-1084       Doc: 9         Filed: 05/03/2021       Pg: 2 of 3




        PER CURIAM:

               Tavon Dameon Davis petitions this court for an extraordinary writ of error in which

        he seeks to challenge his 2012 convictions and sentence for conspiracy to use interstate

        communication facilities in the commission of murder for hire, in violation of 18 U.S.C.

        § 1958(a), and conspiracy to murder a witness resulting in death, in violation of 18 U.S.C.

        § 1512(a)(1)(C), (3)(A). We deny the petition.

               This court’s authority to issue extraordinary writs pursuant to Fed. R. App. P. 21 is

        governed by the All Writs Act (“the Act”), 28 U.S.C. § 1651. Under the Act, federal courts

        “may issue all writs necessary or appropriate in aid of their respective jurisdictions and

        agreeable to the usages and principles of law.” 28 U.S.C. § 1651(a). The Act “is a residual

        source of authority to issue writs that are not otherwise covered by statute.” Carlisle v.

        United States, 517 U.S. 416, 429 (1996) (internal quotation marks omitted). Due to the

        Act’s residual nature, “[w]here a statute specifically addresses the particular issue at hand,

        it is that authority, and not the All Writs Act, that is controlling.” Id. (internal quotation

        marks omitted). Thus, prisoners may not resort to the Act, or to the common law writs it

        authorizes, when there is another available remedy. See, e.g., United States v. Swaby, 855

        F.3d 233, 238 (4th Cir. 2017) (“A writ of coram nobis is an exceptional remedy that may

        be granted only when a fundamental error has occurred and no other available remedy

        exists.”); United States v. Torres, 282 F.3d 1241, 1245 (10th Cir. 2002) (recognizing that

        a writ of audita querela is unavailable if the petitioner has other relief available).

               Because Davis may attempt to challenge the validity of his convictions and sentence

        in the district court through a motion pursuant to 28 U.S.C. § 2255, Davis fails to satisfy

                                                       2
USCA4 Appeal: 21-1084      Doc: 9         Filed: 05/03/2021     Pg: 3 of 3




        the requirements for relief under the Act. * We therefore grant Davis’ motion to file excess

        pages in support of his petition but deny Davis’ petition for an extraordinary writ. We

        dispense with oral argument because the facts and legal contentions are adequately

        presented in the materials before this court and argument would not aid the decisional

        process.

                                                                              PETITION DENIED




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                  The record reflects that Davis has not previously filed a § 2255 motion in the
        district court. We express no opinion as to the timeliness of such a motion or on the merits
        of Davis’ claims.

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